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                 Exhibit 5
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                             CLASS REPRESENTATIVE DEPOSITIONS

  DEPONENT                             DATE              STATE LOCATION
  Brian Luscher                    April 25, 2012          AZ  Phoenix, AZ
  Jeffrey Figone                  October 19, 2012         CA  San Francisco, CA
  Steven Ganz                       April 4, 2012          CA  San Francisco, CA
  Lawyer’s Choice Suites, Inc.    October 11, 2012         DC  Washington, D.C.
  David Rooks                    November 30, 2012         FL  Orlando, FL
  Daniel Riebow                    April 17, 2012          HI  Honolulu, HI
  Travis Burau                      June 8, 2012           IA  Dallas, TX
  Southern Office Supply, Inc.   September 28, 2012        KS  Liberal, KS
  Kerry Lee Hall                   March 21, 2012          ME  Portland, ME
  Lisa Reynolds                    April 13, 2012          MI  Grand Rapids, MI
  David Norby                     October 19, 2012         MN  Minneapolis, MN
  Barry Kushner                    March 2, 2012           MN  Minneapolis, MN
  Charles Jenkins                November 14, 2012         MS  Columbus, MS
  Steven Fink                    November 28, 2012         NE  Omaha, NE
  Gloria Comeaux                  October 15, 2012         NV  Las Vegas, NV
  Craig Stephenson                 April 26, 2012          NM  Albuquerque, NM
  Janet Ackerman                   March 14, 2012          NY  New York, NY
  Louise Wood                     October 15, 2012         NY  New York, NY
  Patricia Andrews                November 7, 2012         NC  Charlotte, NC
  Gary Hanson                       May 4, 2012            ND  Fargo, ND
  Jeff Speaect                   November 16, 2012         SD  Fort Pierre, SD
  Albert Sidney Crigler           October 23, 2012         TN  Nashville, TN
  Margaret Slagle                  March 20, 2012          VT  Burlington, VT
  John Larch                        June 1, 2012          WV   Weirton, WV
  Brigid Terry                    October 17, 2012         WI  Janesville, WI

  ** Two named plaintiffs - not appointed as class representatives – were also deposed: Frank
  Warner was deposed in Memphis, TN on 2/28/12, and Samuel Nasto was deposed in Las Vegas,
  NV on May 16, 2012.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                   Case No. 3:07-cv-5944, MDL No. 1917
